
McAdam, J.
This is a suit by the plaintiff to have a chattel mortgage made to it by George J. Sawyer, though subsequently filed, declared prior and superior to one made by him to Caspar Iba and assigned to the defendants Lewis, on the ground that Iba, the assignor, at the time of the execution of the mortgage to him, knew of the existence of the mortgage to the plaintiff, and had agreed that the same should be a prior lien to his; and for damages by reason of the defendant’s conversion of the property covered thereby.
The case presented a conflict of evidence, and the trial judge on evidence sustaining the finding held with the plaintiff on the facts, and as conclusions of law decided that the chattel mortgage given by Sawyer to Iba, although first filed, was subject to the prior lien of the chattel mortgage held by the plaintiff; that Iba took his mortgage for an antecedent debt, except as to the sum of twelve dollars; and that the defendants Lewis, as assignees, took the title of their assignor, and nothing more.
The rule is that an assignee in good faith and for value of a recorded mortgage, gets no preference over a prior unrecorded mortgage by reason of such record, when his assignor could not claim it. Green v. Warwick, 64 N. Y. 220 ; Decker v. Boice, 83 id. 215; Rapps v. Gottlieb, 142 id. 164; 58 St. Rep. 636.
We find no error, and the judgment appealed from must be affirmed, with costs.
Sedgwick, C. J., concurred.
